     Case 8:20-cv-01615-JLS-DFM Document 18 Filed 12/16/20 Page 1 of 1 Page ID #:63




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                                                                  JS-6
                             UNITED STATES DISTRICT COURT
 3
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 4

 5 James Rutherford,                     ) Case No. 8:20-cv-01615-JLS(DFMx)
                                         )
 6                    Plaintiff(s),      ) ORDER STAYING ACTION PENDING FINAL
                                         ) SETTLEMENT, REMOVING CASE FROM
 7                    v.                 ) ACTIVE CASELOAD, AND FILING OF
                                         ) DISMISSAL
 8 Lee and Eo Investors, LLC et          )
   al,                                   )
 9                                       )
                  Defendant(s).          )
10                                       )
                                         )
11                                       )
                                         )
12

13         On December 16, 2020, Plaintiff filed a Notice of Settlement
14    (Doc. 17), indicating that the case has fully settled. Based
15    thereon, the Court hereby orders all proceedings in the case stayed
16    and that this action is removed from the Court’s active caseload.
17    The case will not be reopened absent a written showing of good cause
18    filed within thirty (30) days of this order.
19         The parties shall file a Stipulation of Dismissal no later than
20    January 15, 2021 (the “Dismissal Date”).         If no dismissal is filed,
21    the Court deems the matter dismissed at that time.
22         Until the Dismissal Date, the Court retains full jurisdiction
23    over this action.
24

25    IT IS SO ORDERED.
26         DATED: December 16, 2020
27                                             JOSEPHINE L. STATON
                                              _______________________________
                                              HONORABLE JOSEPHINE L. STATON
28
                                              UNITED STATES DISTRICT JUDGE
